UNDER GOD,

                                  CASE# 3 :1 0-cr-00222
                                                        ------·-----~-~--
IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF CONNECTICUT




We the People of the United States,

Robert H. Rivemider Jr./Counterclaimants,                                        __ ,JED
V.

                                                                       U S. D!STRICT COURT
John H. Durham,                                                         I 1:.1, rFOo1D, CONN.



Defendant.




PROOF OF SERVICE


                                                   ·------------
I, Robert H. Rivernider, Jr., declare that on October 21, 2024, I served the Summons, Writ of

Scire Facias, and all attached documents to the Defendant, John H. Durham, in the following

manner:

Certified Mail: The documents were sent by certified mail, return receipt requested, to

the Defendant's address as follows:

John H. Durham

450 Main St.

Hartford, CT 06310

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                                       SUMMONS
UNDER GOD,

                                     CASE# 3:1 0-cr-00222
                                   -~-·~·--·--
SERVICE DETAILS

   •   Documents Served:

           1. Summons

           2. Writ of Scire Facias

   •   Date of Service:

       October 21, 2024

   •   Person Served:

       John H. Durham

       United States Assistant Attorney




DECLARATION ,

I declare that I am over the age of 18 years and not a party to this case. I have complied with all

requirements for the proper service of documents under federal law and court rules.

Respectfully submitted,

Robert H. Rivernider Jr.

c/o 14 S Bobwhite Rd

Wildwood, Florida [34785}

bobriver@icloud.com


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                                           SUMMONS
UNDER GOD,

                                   CASE# 3:10-cr-00222



Signature:   fc?Jlr- /f J2~
Date: October 21, 2024

City/State: Wildwood, Florida




NOTARY PUBLIC

State of Florida

Subscribed and sworn to before me on this October 21, 2024 by Robert H. Rivernider.

Notary Public Signature(Bcf\~:,:r,.,          ~S>\c..,C,o_..l\)'
                                                          \ \~:'\: ,.-·-P_.?•'Lb,'•
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                                                                              l '  '.  '
                                                                                                 ROBINM.MCCOLLOUGH
                                                                                               MY coMMISS\ON # HH 506466
                                          l                                          ;•: ~ :~=   EXPIRES: March 20, 2028
My Commission Expires:o ~..-
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                                                                                             o~·;;~l~}·'---~;; ; ; ;. -----;,; ; ; ; ; ------'


CC: 1. Connecticut Federal Grand Jury
       450 Main St., Hartford, CT 06103
    2. United States House of Representatives
       Speaker Michael Johnson
       568 Cannon House Office Building
       Washington, DC 20515
    3. US House Judiciary Committee
       Chairman Jim Jordan
       2138 Rayburn House Building
       Washington, DC 20515
     4. US Senate Judiciary Committee
        Chairman Richard Durbin
        224 Dirksen Senate Office Building
        Washington, DC 20510
     5. Attorney General State of Florida
        Attorney General Ashley Moody

                                                                                                                                 3
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                                 CASE# 3:10-cr-00222
     Office of the Attorney General
     State of Florida
     PL-01, The Capitol
     Tallahassee, FL 32399-1050
   6. Attorney General State of Connecticut
      Attorney General William Tong
     Office of the Attorney General
      165 Capitol Avenue
     Hartford, CT 06106


   7. The Connecticut General Assembly
      Grand Jury
      Legislative Office Building
      300 Capitol Avenue RM 5300
      Hartford, CT 06106
   8. Governor Ned Lamont
      State Capitol
      210 Capitol Avenue
      Hartford, CT 06106


    9. Sumter County Florida Sheriff William Farmer
      C/O Under Sheriff Patrick Breeden
      7361 Powell Rd.
      Wildwood, FL 34785




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                                     CASE# 3:1 0-cr-00222



IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF CONNECTICUT




We the People of the United States,

Robert H. Rivernider, Jr./Counterclairnants,

V.


John H. Durham,

Defendant.




SUMMONS




TO: John H. Durham,

Acting as an official representative of the United States govermnent without proper legal

authority.




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                                         SUMMONS
UNDER GOD,

                                     GASE# 3: 1 0-cr-00222



YOU ARE HEREBY SUMMONED

to file a written response and provide proof of your lawful authority to hold office as a federal
official, within 2 days from the date of service of this summons. Your response must be filed
with the Clerk of the Court at:
United States District Court

450 Main Street

Hartford, CT 06103

and a copy of your response must be served on the Plaintiff at the address provided below.

This summons is issued in conjunction with the Writ of Scire Facias filed by We the People of

the United States, demanding that you provide:

    1. Proof of your valid Presidential Commission, as required by Article II, Section 2 of

       the U.S. Constitution.

   2. Proof of your valid Senate Confirmation, as required by Article II, Section 3 of the

       U.S. Constitution.

   3. Proof of a valid commission from the U.S. Government, your oath of office, and

       fiduciary bond, as required by Article VI, Section 2 of the U.S. Constitution.




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FAILURE TO COMPLY

 Failure to provide the requested proof within the 2-day period may result in a Writ of

Forfeiture being issued by default. This forfeiture will result in:


    1. Immediate forfeiture of office.

   2. Nullification of all actions taken by you under the pretense of federal authority.

    3. Potential legal claims for damages caused by your unlawful exercise of authority.




REQUIRED RESPONSE

 You are commanded to appear before this Court and provide the required documentation

proving your lawful authority, or risk forfeiture of office and further legal penalties.




Respectfully submitted,

We the People of the United States

Robert H. Rivernider, Jr.

c/o 14 S Bobwhite Rd

Wildwood, Florida [34785]

Signature (Seal of We the People):     TJ:f.:j ?&JI~
Dated: October 21, 2024                I,JI      j'o ( l ._S

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UNDER GOD,

                                     CASE# 3:1 0-cr-00222




ISSUED BY ORDER OF THE COURT

DATED: October 21, 2024




NOTICE TO DEFENDANT

 You must respond within 2 days ofreceiving this summons. Failure to do so may result in

default judgment against you, forfeiture of office, and other penalties as deemed appropriate by

the Court.

IN A FEDERAL CRIMINAL CASE




TO: John H. Durham,

Acting as an official representative of the United States government but without proper legal

authority.




   In the name and under the signature of We the People, this Writ of Scire Facias is hereby

issued to command that you, John H. Durham, show cause why your actions in this matter

should not be deemed void, unlawful, and why you should not forfeit any claim to lawful

authority due to the following violations of the U.S. Constitution:


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I. COUNTER-CLAIM FOR FAILURE TO POSSESS PRESIDENTIAL

COMMISSION

Violation of Article II, Section 2 of the U.S. Constitution

 The U.S. Constitution mandates under Article II, Section 2 that all executive officers must be

appointed by the President of the United States, with the advice and consent of the Senate.

John H. Durham has acted in an official capacity, yet no Presidential Commission has been

issued to validate their authority. As such, all actions taken by the Defendant in this capacity are

unlawful and in violation of the Constitution.




II. FAILURE TO OBTAIN SENATE CONFIRMATION

Violation of Article II, Section 3 of the U.S. Constitution

 Article II, Section 3 of the Constitution requires that certain public officials must be confirmed

by the U.S. Senate before assuming their duties. The Defendant, John H. Durham, has failed to

provide proof of Senate confirmation, rendering their exercise of authority as a federal

official illegitimate. This lack of confirmation voids any and all acts purportedly taken under the

color of federal office.




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III. NO VALID COMMISSION FROM THE UNITED STATES

GOVERNMENT

Violation of Article VI, Section 2 of the U.S. Constitution

  Under Article VI, Section 2 (the Supremacy Clause) of the U.S. Constitution, all government

officials are required to be bound by oath or affirmation to support the Constitution.

Furthermore, certain offices demand a valid commission, fiduciary bond, and oath of office

before duties can lawfully be exercised. The Defendant, John H. Durham, has failed to provide

any such commission, oath, or bond. This failure violates the core legal principles that ensure the

lawful exercise of authority in the U.S. government.




Iv. FAILURE TO LOCATE THESE RECORDS

 On this day, October 21, 2024, the Custodian of Records did not locate any valid presidential

commission, Senate confirmation, or oath of office in the official records. Therefore, John H.

Durham is not qualified to hold office. By acting without these required legal documents,

the Defendant is unlawfully changing the form of government by operating outside the

constitutional framework established for federal officials.




V. DEMAND FOR PROOF OF LAWFUL AUTHORITY WITHIN 2 DAYS
                                                                                                  6
                                          SUMMONS
UNDER GOD,

                                      CASE# 3:1 0-cr-00222



You, John H. Durham, are hereby commanded to provide within 2 days:

    1. Proof of a valid Presidential Commission, as required by Article II, Section 2 of the

        Constitution.

    2. Proof of Senate Confirmation, as required by Article II, Section 3.

    3. Proof of a valid commission from the U.S. Government, an oath of office, and

        fiduciary bond, as required under Article VI, Section 2.




VI. DEFAULT WRIT OF FORFEITURE IF NO COMPLIANCE

 If you fail to provide the requested proof within the 2-day period, a Writ of Forfeiture will be

entered against you by default. This forfeiture will result in:

    •   Immediate forfeiture of office,

    •   Nullification of all actions taken by you under the pretense of federal authority,

    •   Legal claims for damages caused by your unlawful exercise of authority.




VII. RELIEF SOUGHT

Wherefore, We the People, as Counterclaimants, respectfully demand the following:

    1. A declaration that the Defendant's actions are void and that the Defendant is unlawfully

        acting without proper authority.

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   2. An order compelling the Defendant to provide proof of the required Presidential

       Commission, Senate Confirmation, and oath and bond.

   3. If no compliance is provided within 2 days, an immediate Writ of Forfeiture removing

       the Defendant from office.

   4. Any other relief this Court deems appropriate and necessary under the circumstances.




Respectfully submitted,

We the People of the United States

Robert H. Rivernider, Jr.

c/o 14 S Bobwhite Rd., Wildwood, Florida [34785]

bobriver@icoud.com

Signature(SealofWethePeople):        E1· yJJ a~
Dated: October 21, 2024
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ISSUED BY ORDER OF THE COURT

DATED: October 21, 2024




CC: 1. Connecticut Federal Grand Jury
       450 Main St., Hartford, CT 06103


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UNDER GOD,

                                 CASE# 3:1 0-cr-00222
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     568 Cannon House Office Building
     Washington, DC 20515

  3. US House Judiciary Committee
     Chairman Jim Jordan
     2138 Rayburn House Building
     Washington, DC 20515

   4. US Senate Judiciary Committee
      Chairman Richard Durbin
      224 Dirksen Senate Office Building
      Washington, DC 20510

   5. Attorney General State of Florida
      Attorney General Ashley Moody
      Office of the Attorney General
      State of Florida
      PL-01, The Capitol
      Tallahassee, FL 32399-1050

   6. Attorney General State of Connecticut
      Attorney General William Tong
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     Hartford, CT 06106

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      Wildwood, FL 34 785



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                                          SUMMONS
